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                                                         THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9           MARIA MORALES,                                     CASE NO. C12-2235-JCC
10                               Plaintiff,                     ORDER
11                      v.

12           OFFICER SONYA FRY, et al.,

13                               Defendants.
14

15           This matter comes before the Court on Plaintiff Maria Morales’ and Defendant Officer
16   Sonya Fry’s stipulated motion (Dkt. No. 171) to exonerate Defendants’ appeal bond (Dkt. No.
17   157) and dismiss certain defendants. Having thoroughly considered the parties’ briefing and the
18   relevant record, the Court GRANTS the motion (Dkt. No. 171) for the reasons explained herein.
19                                RELEVANT PROCEDURAL HISTORY
20           Following trial, the Court awarded Plaintiff attorney fees of $165,405 for her successful
21   claims against Seattle police officer Brian Rees. (Dkt. No. 150.) Defendants posted a supersedeas
22   bond and moved to stay enforcement of the attorney fee award pending appeal. (Dkt. No. 153.) The
23   Court granted that motion. (Dkt. No. 157.) The Ninth Circuit affirmed the judgment of the Court as
24   to Officer Rees, including the attorney fee award, and remanded for retrial of Plaintiff’s claims against
25   Officer Sonya Fry. (Dkt. No. 159.) Retrial is scheduled to begin July 9, 2018. (Dkt. No. 167.)
26   //


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 1                                            STIPULATION
 2          Defendants have arranged to the satisfaction of Plaintiff to pay the attorney fees above in
 3   addition to the costs the Clerk awarded after trial. (Dkt. No. 149.) Plaintiff Morales and Defendant
 4   Fry agree that there is no need to continue the stay of enforcement, and that the Court may exonerate
 5   the supersedeas bond.
 6          In addition, Plaintiff Morales and Defendant Fry agree that Plaintiff’s only claims remaining
 7   for trial are her claims against Defendant Fry. The docket reflects that Officer Michelle Gallegos,
 8   Officer Rees, and the City of Seattle have not been dismissed. Plaintiff Morales and Defendant Fry
 9   ask the Court to terminate those Defendants.
10                                                  ORDER
11          Based on the foregoing stipulation, the Court GRANTS the parties’ stipulated motion, and
12   ORDERS as follows:
13          1) The stay of enforcement of the attorney fee award imposed on May 5, 2015 (Dkt. No.
14              157) is LIFTED.
15          2) The supersedeas bond that Defendants posted on March 6, 2015 (Dkt. No. 153-2) is
16              EXONERATED. The City’s surety is authorized to release the bond.
17          3) The clerk is DIRECTED to re-caption the case to reflect Officer Sonya Fry as the sole
18              Defendant remaining in this matter.
19

20          DATED this 27th day of February 2018.




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                                                           John C. Coughenour
24                                                         UNITED STATES DISTRICT JUDGE
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